

Matter of Dill v Brian S. (2024 NY Slip Op 05708)





Matter of Dill v Brian S.


2024 NY Slip Op 05708


Decided on November 15, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 15, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CURRAN, MONTOUR, GREENWOOD, AND HANNAH, JJ.


732 CA 23-01926

[*1]IN THE MATTER OF DANIELLE DILL, PSY.D., EXECUTIVE DIRECTOR, CENTRAL NEW YORK PSYCHIATRIC CENTER, PETITIONER-RESPONDENT,
vBRIAN S., RESPONDENT-APPELLANT. 






ELIZABETH S. FORTINO, DIRECTOR, MENTAL HYGIENE LEGAL SERVICE, SYRACUSE (NATHANIEL V. RILEY OF COUNSEL), FOR RESPONDENT-APPELLANT.
LETITIA JAMES, ATTORNEY GENERAL, ALBANY (BRIAN LUSIGNAN OF COUNSEL), FOR PETITIONER-RESPONDENT. 


	Appeal from an order of the Supreme Court, Oneida County (Charles C. Merrell, J.), entered October 16, 2023. The order authorized petitioner to administer medication to respondent over his objection. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Memorandum: Respondent appeals from an order granting petitioner's application for authorization to administer medication to respondent over his objection. The order has since expired, rendering this appeal moot (see Matter of McCulloch v Melvin H., 156 AD3d 1480, 1481 [4th Dept 2017], appeal dismissed 31 NY3d 927 [2018], lv denied 32 NY3d 902 [2018]; Matter of Russell v Tripp, 144 AD3d 1593, 1594 [4th Dept 2016]), and this case does not fall within the exception to the mootness doctrine (see Matter of McGrath, 245 AD2d 1081, 1082 [4th Dept 1997]; see generally Matter of Hearst Corp. v Clyne, 50 NY2d 707, 714-715 [1980]).
Entered: November 15, 2024
Ann Dillon Flynn
Clerk of the Court








